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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION

This Document Related to:

Individual Case No. 3:13-cv-2171 (SC),
Dell Inc.; Dell Products L.P., v. Philips
Electronics North America Corporation et al.;

Individual Case No. 3:13-cv-01173-SC,
Sharp Electronics Corp., et al. v. Hitachi, Ltd.,
et al.

Individual Case No. 3:13-cv-2776 SC,
Sharp Electronics Corp. et al. v. Koninklijke
Philips Elecs., N.V. et al.

Master File No. 3:07-md-05944-SC (N.D. Cal)
MDL No. 1917

DECLARATION OF CLAIRE YAN AND
EXHIBITS ISO DEFENDANTS’? JOINT
MOTION FOR PARTIAL SUMMARY
JUDGMENT AGAINST DELL AND
SHARP PLAINTIFFS ON STATUTE OF
LIMITATIONS GROUNDS -

Sealed Exhibits 1-39

[Notice of Joint Motion and Motion for Partial
Summary Judgment and [Proposed] Order filed
concurrently ]

The Honorable Samuel Conti
February 6, 2015

10:00 A.M.

1, 17th Floor

Judge:
Date:
Time:
Crtrm.:

3:07-cv-05944-SC; MDL No. 1917

DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

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I, Claire Yan, hereby declare:

I am an attorney with the law firm Munger, Tolles & Olson LLP, counsel of record for
Defendants LG Electronics, Inc., LG Electronics U.S.A., Inc., and LG Electronics Taiwan Taipei
Co., Ltd. (collectively, “LGE”) in the above entitled action. I am licensed in the State of
California and admitted to practice before this Court. I make this declaration based on my
personal knowledge and, if called upon as a witness, could and would testify competently as to the
matters set forth below.

I. Documents and Deposition Exhibits

1. Attached to this declaration as Exhibit 1 is a true and correct copy of deposition
exhibits 1908 and 1908-E (Korean and English Certified Translation versions) marked for
identification at the deposition of Jae In Lee on July 25, 2013.

2. Attached to this declaration as Exhibit 2 is a true and correct copy of deposition
exhibits 3620 and 3620-E (Korean and Certified Translation English versions) marked for
identification at the deposition of Vincent Sampietro on June 25, 2014.

3. Attached to this declaration as Exhibit 3 is a true and correct copy of deposition
exhibits 3621 and 3621-E (Korean and Certified Translation English versions) marked for
identification at the deposition of Vincent Sampietro on June 25, 2014.

4, Attached to this declaration as Exhibit 4 is a true and correct copy of deposition
exhibit 3622 marked for identification at the deposition of Vincent Sampietro on June 25, 2014.

5. Attached to this declaration as Exhibit 5 is a true and correct copy of deposition
exhibits 3623 and 3623-E (Korean and Certified Translation English versions) marked for
identification at the deposition of Vincent Sampietro on June 25, 2014.

6. Attached to this declaration as Exhibit 6 is a true and correct copy of deposition
exhibit 3624 marked for identification at the deposition of Vincent Sampietro on June 25, 2014.

7. Attached to this declaration as Exhibit 7 is a true and correct copy of deposition
exhibits 4765 and 4765-E (Korean and Certified Translation English versions) marked for

identification at the deposition of Takashi Nakanishi on July 30, 2014.

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DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

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8. Attached to this declaration as Exhibit 8 is a true and correct copy of deposition
exhibit 4991 marked for identification at the deposition of Martin Garvin on August 6, 2014.

9. Attached to this declaration as Exhibit 9 is a true and correct copy of deposition
exhibit 4993 marked for identification at the deposition of Martin Garvin on August 6, 2014.

10. Attached to this declaration as Exhibit 10 is a true and correct copy of deposition
exhibit 5089 marked for identification at the deposition of Angela Ford on August 8, 2014.

11. Attached to this declaration as Exhibit 11 is a true and correct copy of deposition
exhibit 5090 marked for identification at the deposition of Angela Ford on August 8, 2014.

12. Attached to this declaration as Exhibit 12 is a true and correct copy of deposition
exhibit 5091 marked for identification at the deposition of Angela Ford on August 8, 2014.

13. Attached to this declaration as Exhibit 13 is a true and correct copy of deposition
exhibit 5092 marked for identification at the deposition of Angela Ford on August 8, 2014.

14. Attached to this declaration as Exhibit 14 is a true and correct copy of deposition
exhibit 5093 marked for identification at the deposition of Angela Ford on August 8, 2014.

15. Attached to this declaration as Exhibit 15 is a true an correct copy of deposition
exhibit 5094 marked for identification at the deposition of Angela Ford on August 8, 2014.

16. Attached to this declaration as Exhibit 16 is a true an correct copy of deposition
exhibit 5097 marked for identification at the deposition of Angela Ford on August 8, 2014.

17. Attached to this declaration as Exhibit 17 is a true and correct copy of deposition
exhibit 5200 marked for identification at the deposition of Dennis Selman on August 13, 2014.

18. Attached to this declaration as Exhibit 18 is a true and correct copy of deposition
exhibit 5205 marked for identification at the deposition of Dennis Selman on August 13, 2014.

19, Attached to this declaration as Exhibit 19 is a true and correct copy of deposition
exhibit 5902 marked for identification at the deposition of Gerry Smith on August 27, 2014.

20. Attached to this declaration as Exhibit 20 is a true and correct copy of deposition
of 5908 marked for identification at the deposition of Ricky Ratley on August 28, 2014.

21, Attached to this declaration as Exhibit 21 is a true and correct copy of deposition

exhibit 6071 marked for identification at the deposition Shutan Lillie on September 3, 2014.
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DECL, OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

Case 4:07-cv-05944-JST Document 3044-1 Filed 11/07/14 Page 4 of 6

22, Attached to this declaration as Exhibit 22 is a true and correct copy of deposition
exhibit 6089 marked for identification at the deposition of Julie French on September 9, 2014.

23. Attached to this declaration as Exhibit 23 is a true a correct copy of deposition
exhibit 6090 marked for identification at the deposition of Julie French on September 9, 2014.

II. Deposition Testimony

24. Attached to this declaration as Exhibit 24 are true and correct copies of excerpts
to the deposition of Ayumu Kinoshita, Volume 1, deposed in this case on February 5, 2013.

25, Attached to this declaration as Exhibit 25 are true and correct copies of excerpts
to the deposition of Vincent Sampietro deposed in this case on June 25, 2014.

26. Attached to this declaration as Exhibit 26 are true and correct copies of excerpts
to the deposition of Toshihito Nakanishi deposed in this case on July 29, 2014.

27, Attached to this declaration as Exhibit 27 are true and correct copies of excerpts
to the deposition of Martin Garvin deposed in this case on August 6, 2014.

28. Attached to this declaration as Exhibit 28 are and correct copies of excerpts to the
deposition of Angela Ford deposed in this case on August 8, 2014.

29. Attached to this declaration as Exhibit 29 are true and correct copies of excerpts
to the deposition of Dennis Selman deposed in the case on August 13, 2014.

30. Attached to this declaration as Exhibit 30 are true and correct copies of excerpts
to the deposition of Gerry Smith deposed in this case on August 27, 2014.

31. Attached to this declaration as Exhibit 31 are true and correct copies of excerpts
to the deposition of Ricky Ratley deposed in this case on August 28, 2014.

32. Attached to this declaration as Exhibit 32 are true and correct copies of excerpts
to the deposition of Shutan Lillie deposed in this case on September 3, 2014.

33. Attached to this declaration as Exhibit 33 are true and correct copies of excerpts
to the deposition of Julie French deposed in this case on September 9, 2014.

34. Attached to this declaration as Exhibit 34 are true and correct copies of excerpts

to the deposition of Ayumu Kinoshita, Volume 2, deposed in this case on February 6, 2013.

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DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

Case 4:07-cv-05944-JST Document 3044-1 Filed 11/07/14 Page 5 of 6

35. Attached to this declaration as Exhibit 35 are true and correct copies of excerpts
to the deposition of Kenneth Elzinga, Volume 2, deposed in this case on October 27, 2014.
36. Attached to this declaration as Exhibit 36 are true and correct copies of excerpts

to the deposition of Julie French deposed in this case on June 2, 2014.

Ill. Expert Report

37. Attached to this declaration as Exhibit 37 is a true and correct copy of excerpts

from the Expert Rebuttal Report of Kenneth Elzinga, dated September 26, 2014.

IV. Discovery

38. Attached to this declaration as Exhibit 38 is a true and correct copy of excerpts
from the Sharp’s Response to Philips Electronics North America Corporation’s First Set of
Interrogatories to Sharp Electronics Corporation and Sharp Electronics Manufacturing Company
of America, Inc., dated September 5, 2014.

39, Attached to this declaration as Exhibit 39 is a true and correct copy of excerpts
from Exhibit A to Sharp’s Response to Philips Electronics North America Corporation’s First Set
of Interrogatories to Sharp Electronics Corporation and Sharp Electronics Manufacturing

Company of America, Inc., dated September 5, 2014.

I declare under penalty of perjury under the laws of California that the foregoing is true

and correct. Executed on the 7th day of November, 2014 in Los Angeles, California.

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DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT

AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

Case 4:07-cv-05944-JST Document 3044-1 Filed 11/07/14 Page 6 of 6

DATED: November 7, 2014 MUNGER, TOLLES & OLSON LLP
HOJOON HWANG
WILLIAM D. TEMKO
MIRIAM KIM
CLAIRE YAN

By: /s/ Claire Yan

CLAIRE YAN
Attorneys for Defendants LG Electronics, Inc. and LG
Electronics U.S.A., Inc.

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DECL. OF CLAIRE YAN AND EXHIBITS ISO DEFS’ JOINT MOTION FOR PARTIAL SUMMARY JUDGMENT
AGAINST DELL AND SHARP PLAINTIFFS ON STATUTE OF LIMITATIONS GROUNDS

